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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------x
 JENNIFER D. ARAOZ,                   :
                                      :
             Plaintiff,               : No. 1:22-cv-00125 (AMD) (RML)
                                      :
      v.                              :
                                      :
 THE NEW ALBANY COMPANY, LLC, et al., :
                                      :
             Defendants.              :
 -----------------------------------x

                           DEFENDANTS’ MOTION TO DISMISS

        Defendants The New Albany Company, LLC, The Wexner Family Charitable Fund, The

 YLK Charitable Fund, Abigail S. Wexner, The Wexner Foundation, and Leslie H. Wexner move

 this Court for an order dismissing Plaintiff’s Complaint with prejudice pursuant to Fed. R. Civ.

 P. 12(b)(1), 12(b)(2), and 12(b)(6).   The basis for this motion is set forth in the attached

 Memorandum in Support.

 Dated: April 17, 2023

                                                    Respectfully submitted,

                                                    /s/ Marion H. Little, Jr.
                                                    Marion H. Little, Jr. (Ohio Bar # 0042679)
                                                    Admitted pro hac vice
                                                    Matthew S. Zeiger (Ohio Bar #0075117)
                                                    Admitted pro hac vice
                                                    ZEIGER, TIGGES & LITTLE LLP
                                                    41 S. High St., Suite 3500
                                                    Columbus, OH 43215-6110
                                                    Phone: (614) 365-9900
                                                    Fax: (614) 365-7900
                                                    Email: little@litohio.com
                                                    Counsel for Defendants The New Albany
                                                    Company, LLC, The Wexner Family
                                                    Charitable Fund, The YLK Charitable Fund,
                                                    Abigail S. Wexner, The Wexner Foundation,
                                                    and Leslie H. Wexner
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                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on April 17, 2023, a copy of the foregoing was filed

 electronically with the Clerk of Court using the CM/ECF system, which will send notification of

 such filing to all attorneys of record.


                                                       /s/ Marion H. Little, Jr.
                                                       Marion H. Little, Jr. (Ohio Bar # 0042679)


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